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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINEVILLE DIVISION

TED THEODORE DIEDRICKS, JR.
et al.,

            Plaintiffs,

vs.                                          CASE NO. 1:13-cv-210-MW/GRJ

PARKER VAN HART
and
JENNIFER VAN HART,

            Defendants.

_______________________________/


                ORDER REGARDING BANKRUPTCY STAY

      The Defendants, Parker Van Hart and Jennifer Van Hart, have given notice

they have instituted bankruptcy proceedings in the Northern District of Florida.

The bankruptcy filing automatically stays all proceedings in this case against the

Defendants until otherwise ordered. See 11 U.S.C. § 362.

       This order recognizes the stay and establishes a mechanism by which the

Court can be kept advised of the status of the bankruptcy proceeding. The filing

requirements of this order are mandatory to the extent consistent with the

automatic stay but are set forth as a request to the Defendants because the stay may




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not allow a mandatory requirement to be imposed on the Defendants. For these

reasons,

      IT IS ORDERED:

      1. All proceedings in this case are stayed until otherwise ordered.

      2. Defendants must file a notice in this court within 30 days after the

automatic stay ends either explicitly or by operation of law.

      3. Each other party must file a notice in this court within 30 days after the

party or its attorney learns the automatic stay has ended either explicitly or by

operation of law. But if one notice has been filed, no party must file an additional

notice.

      4. The Defendants are requested to file, and each other party must file, by

the last day of each May and November, (beginning with May, 2014), a status

report indicating whether the bankruptcy proceeding remains pending and the

automatic stay remains in effect. However, if one status report has been filed for a

period, no party need file an additional status report.

      SO ORDERED on November 14, 2013.

                                               s/Mark E. Walker
                                               United States District Judge




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